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                                 ALSTON & BIRD
                                               One Atlantic Center
                                           1201 West Peachtree Street
                                             Atlanta, GA 30309-3424
                                        404-881-7000 | Fax: 404-253-8487


Derin B. Dickerson                           Direct Dial: 404-881-7454          Email: derin.dickerson@alston.com

                                             January 20, 2022


Via ECF
Honorable Catherine C. Blake
United States District Judge


          Re:        Bradley v. DentalPlans.com, Civil Action No. 1:20-cv-1094-CCB
                     Defendants' Request for a Conference to Address Briefing on Plaintiff’s
                     Motion for Class Certification

Dear Judge Blake,

        I write to respectfully request that the Court schedule a conference next week to
address a dispute between the parties regarding discovery and its impact on the briefing of
Plaintiff’s early motion for class certification. Defendants believe a stay of briefing on
Plaintiff’s motion for class certification pending resolution of Cigna’s motion to dismiss for
lack of personal jurisdiction is warranted as it has not been determined whether the Court
has personal jurisdiction over Cigna, and Cigna has not yet participated in discovery.
Defendants request a conference next week so that the Court can resolve this issue before
Defendants are required to file their opposition to Plaintiffs’ motion for class certification
(Dkt. No. 70).

        By way of background, more than a year after filing this lawsuit against
DentalPlans.com, Plaintiff filed an amended complaint on August 2, 2021, adding Cigna
Health and Life Insurance Company (“Cigna”) as a defendant. (Dkt. 42.) Subsequently, the
Court entered a scheduling order setting February 28, 2022, 1 as the deadline for fact
discovery and July 25, 2022, as the deadline for Plaintiff to file her motion for class
certification. (Dkt. 48.)

         On September 14, 2021, Cigna moved to dismiss Plaintiff’s amended complaint for
lack of personal jurisdiction. (Dkt. 51.) As of December 21, 2021, that motion is fully briefed
and pending before the Court. Despite discovery between DentalPlans and Plaintiff ongoing,
Plaintiff filed her motion for class certification on December 28, 2021, nearly six months
earlier than the deadline set by the Court. (Dkt. 70.) Defendants’ opposition was due January
11, 2022. Defendants requested that Plaintiff consent to a stay of briefing on the motion until
(1) the completion of fact discovery and (2) resolution of Cigna’s pending motion to dismiss
for lack of personal jurisdiction, and, in the alternative, a thirty-day extension of time.
Plaintiff would not agree to a stay and would not even agree to an extension absent an
agreement on firm dates for remaining depositions. Accordingly, with Defendants’ deadline

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 If the Court determines that it has personal jurisdiction over Cigna, this deadline will need to be extended to
permit Cigna time to obtain discovery from Plaintiff.
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approaching, Defendants filed a motion for a thirty-day extension of time, until February
10, 2022, to file their opposition, without Plaintiff’s consent, and noted that they would be
requesting a stay of all briefing pending resolution of Cigna’s motion to dismiss for lack of
personal jurisdiction. (Dkt. No. 73.) Subsequently, the parties agreed to schedule Plaintiff’s
deposition and her husband’s deposition for January 27, 2022, and Plaintiff responded to
Defendants’ motion for extension, consenting to Defendants’ request for an extension of
time but objecting to stay briefing pending resolution of Cigna’s motion to dismiss.

        Counsel for the parties conferred on January 20, 2022, regarding the propriety of
requiring Defendants to respond to Plaintiff’s motion for class certification before the
threshold issue of jurisdiction has been resolved and before Cigna has had the opportunity
to participate in discovery. The parties were unable to reach an agreement.

        Under the local rules, briefing on a formal motion to stay briefing would not be
completed until after February 10, 2022—the deadline Defendants have requested for their
opposition. Moreover, Defendants do not believe extensive formal briefing of this issue
would be particularly helpful as the Parties’ positions are clear. Accordingly, Defendants
request an emergency conference with the Court next week to resolve the parties’ dispute
regarding Plaintiff’s motion for class certification. Defendants believe the Court will be able
to adequately address the issue at an informal teleconference pursuant to the procedures set
forth in the Court’s scheduling order for resolving discovery disputes.




                                              Sincerely,



                                              Derin B. Dickerson
